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Case 1:22-cv-08228-JSR Document 129-1 Filed 06/14/24 Page 1 of 4

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

STEAMSHIP TRADE ASSOCIATION OF Case No. 1:22-cv-08228-JSR
BALTIMORE — INTERNATIONAL
LONGSHOREMEN’S ASSOCIATION CLASS ACTION

PENSION FUND, Individually and on Behalf of
All Others Similarly Situated,

Plaintiff,

Vv.

OLO INC., NOAH GLASS, and PETER
BENEVIDES,

Defendants.

AMENDED FINAL ORDER AND JUDGMENT GRANTING
FINAL APPROVAL OF CLASS ACTION SETTLEMENT

Class Representative Steamship Trade Association of Baltimore — International

Longshoremen’s Association Pension Fund previously moved for entry of an order authorizing

final approval of class action settlement in the above-captioned action. ECF No. 119. On June

11, 2024, this Court issued a Final Order and Judgment Granting Final Approval of Class Action

Settlement (the “Final Approval Order’). ECF No. 126. Now, having reviewed the June 14, 2024

letter of Amanda F. Lawrence requesting modification of the Final Approval Order,
THE COURT ORDERS AS FOLLOWS:
This Order modifies the Court’s Final Approval Order (ECF No. 126) by substituting

Exhibit A originally incorporated in the Final Approval Order with the Exhibit A, attached hereto.

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IT IS SO ORDERED.

DATED: 6{1r/29 WW E¢

JEDS. RAKOFF, U-S'D.J.
SOUTHERN DISTRICT OF NEW YORK

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EXHIBIT A

Case 1:22-cv-08228-JSR Document 130

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Name
Joshua K Benn
Passkey Investors
Scott Lawton
Trace L5 Capital LLC
Jeffrey Steinberg
Scott Beck
Tyler Felous
Heather M Cull
Michelle Lozier
Jordan Ashdown
Blake Ashdown
Kenneth J Foote
Iris Rochelle Foote
Donkersloot-Foote Family Trust
Charlotte Lynne Fitzpatrick
Alexander Kirby Foote
Benjamin Aaron Foote
Lark Allison Foote
Blythe Esther Foote
Juliet Ann Foote
Wisely Executive Holdings LLC
Amy E. Soltis
Pforzheimer Family Limited
Partnership

Tammy K Billings

Jacob Organek

Jacob Hyde

Eric Ralphs Bellquist Separate
Property Trust

Chibor Wisely, LLC

Project Zingerman - a series of

Lamplighter Syndicate Amster Fund

LLC

Christopher Bradley
Michael Vichich

Lori Ware

LeFranc Consulting Group
Daniel Fleischmann

David Cantu

The Little Red Bird, LLC
Greg Golkin

Requests for Exclusion

Location
Greenwich, CT
Darien, CT
Trumbull, CT

Briarcliff Manor, NY
Paradise Valley, AZ

Westport, CT
Washington, DC
Chicago, IL
Tampa, FL
Grand Rapids, MI
East Lansing, MI
Brighton, MI
Howell, MI
Baltimore, MD
Souderton, PA
Atlanta, GA
Chicago, IL
Exton, PA

East Lansing, MI
Sunnyvale, CA
East Lansing, MI
Lansing, Mi

Wilton, CT
Long Beach, CA

New York, NY
Darien, CT

Indian Wells, CA
Ann Arbor, MI

Raleigh, NC

New York, NY
Ann Arbor, MI
Greenburg, PA
Weddington, NC
New York, NY
Austin, TX
ColdSpring, NY
New York, NY

Exclusion ID#

Exclusion 1
Exclusion 2
Exclusion 3
Exclusion 4
Exclusion 5
Exclusion 6
Exclusion 7
Exclusion 8
Exclusion 9
Exclusion 10
Exclusion 11
Exclusion 12
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Exclusion 26

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Exclusion 30
Exclusion 31
Exclusion 32
Exclusion 33
Exclusion 34
Exclusion 35
Exclusion 36
Exclusion 37

Signed

Yes
Yes
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